                            Case 3:17-bk-02469-PMG                         Doc 6   Filed 07/05/17        Page 1 of 2

Information to identify the case:
Debtor 1               Natashia T. Swindler                                               Social Security number or ITIN       xxx−xx−4419
                       First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
                       First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                          EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida                      Date case filed for chapter 7 7/3/17

Case number:          3:17−bk−02469−PMG


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                            12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take
action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand
repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive
damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors
can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want
to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the
deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the
address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.
                                                  About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                        Natashia T. Swindler

2.      All other names used in the
        last 8 years

3.     Address                                    10846 Naples Ct. S.
                                                  Jacksonville, FL 32218

4.     Debtor's attorney                          None
       Name and address

5.     Bankruptcy Trustee                         Gordon P. Jones                                      Contact phone 904−262−7373
                                                  P O Box 600459
       Name and address                           Jacksonville, FL 32260−0459

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim trustee
pursuant to 11 USC § 701.
                                                                                                                   For more information, see page 2 >
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Debtor Natashia T. Swindler                                                                                         Case number 3:17−bk−02469−PMG


6. Bankruptcy Clerk's Office                         300 North Hogan Street Suite 3−150                            Hours open:
                                                     Jacksonville, FL 32202                                        Monday − Friday 8:30 AM − 4:00PM
    Documents in this case may be filed at this
    address. You may inspect all records filed in                                                                  Contact phone 904−301−6490
    this case at this office or online at
    www.pacer.gov.
                                                                                                                   Date: July 5, 2017

7. Meeting of creditors                              August 17, 2017 at 10:30 AM                                   Location:

    Debtors must attend the meeting to be            The meeting may be continued or adjourned to a                FIRST FLOOR, 300 North Hogan
    questioned under oath. In a joint case, both     later date. If so, the date will be on the court              St. Suite 1−200, Jacksonville, FL
    spouses must attend. Creditors may attend,
    but are not required to do so. You are           docket.                                                       32202
    reminded that Local Rule 5073−1 restricts
    the entry of personal electronic devices into       *** Debtor(s) must present Photo ID and acceptable
    the Courthouse.                                    proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                         Insufficient information has been filed to date to permit the clerk to make any
                                                determination concerning the presumption of abuse. If more complete information, when
    If the presumption of abuse arises, you may filed, shows that the presumption has arisen, creditors will be notified.
    have the right to file a motion to dismiss the
    case under 11 U.S.C. § 707(b). Debtors
    may rebut the presumption by showing
    special circumstances.


9. Deadlines                                         File by the deadline to object to discharge or to Filing deadline: October 16, 2017
                                                     challenge whether certain debts are
    The bankruptcy clerk's office must receive       dischargeable:
    these documents and any required filing fee
    by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to
                                                       receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                       or

                                                     • if you want to have a debt excepted from discharge
                                                       under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied
                                                       under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.   conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a proof
                                                     of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless       send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                     be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                     You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                                     believe that the law does not authorize an exemption that the debtors claim, you may file
                                                     an objection. The bankruptcy clerk's office must receive the objection by the deadline to
                                                     object to exemptions in line 9.

13. Voice Case Info. System (McVCIS) McVCIS provides basic case information concerning deadlines such as case opening and closing
                                     date, discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day
                                     except when routine maintenance is performed. To access McVCIS toll free call 1−866−222−8029.
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